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                                                       8                               UNITED STATES BANKRUPTCY COURT

                                                       9                               SOUTHERN DISTRICT OF CALIFORNIA

                                                      10    In Re:                                           Case No. 17-06078-MM7

                                                      11                                                     STIPULATION ON SETTLEMENT AND
                                                                                                             WITHDRAWAL OF MOTION BY
                                                      12    CORE SUPPLEMENT TECHNOLOGY,                      CHAPTER 7 TRUSTEE, RICHARD M.
                                                            INC.,                                            KIPPERMAN, TO DISGORGE
                  15373 INNOVATION DRIVE, SUITE 210




                                                      13                                                     COMPENSATION PAID TO CHAPTER
                    SAN DIEGO, CALIFORNIA 92128
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                                                                             Debtor.                         11 CHIEF RESTRUCTURING OFFICER,
                                                      14                                                     RICHARD FEFERMAN

                                                      15                                                     DATE: May 7, 2020
                                                                                                             TIME: 10:00 a.m.
                                                      16                                                     DEPT: 1, Room 218

                                                      17                                                     Honorable Margaret M. Mann

                                                      18             Chapter 7 Trustee Richard M. Kipperman (the “Trustee”) and the former Chapter 11 Chief

                                                      19   Restructuring Officer Richard Feferman (the “Former CRO”) and Corporate Recovery Associates,

                                                      20   LLC (“CRA”), sometimes collectively referred to as “the Parties,” by and through their respective

                                                      21   undersigned counsel, hereby stipulate and agree as follows:

                                                      22                                             RECITALS
                                                      23             A.     Former CRO, as representative of CRA, previously served as Core Supplement

                                                      24   Technology, Inc’s (the “Debtor”) Court-appointed Chief Restructuring Officer and was paid

                                                      25   $43,870.97 in fees in connection with those services;

                                                      26             B.     In connection therewith, Maxum Indemnity Company (“Maxum”) issued Directors,

                                                      27   Officers and Private Company Liability Insurance Policy No. MLN-6028352-02 for the policy

                                                      28   period of March 10, 2017 to March 10, 2018 (the “Policy”). The Policy provides coverage to Debtor

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                                                       1   and its officers, directors and employees in accordance with its terms and subject to a limit of

                                                       2   liability of $1,000,000.00 (including all defense costs, as defined therein);

                                                       3          C.         On March 3, 2020, the Trustee filed a Motion to Disgorge Compensation seeking

                                                       4   disgorgement of the Former CRO’s fees based on allegations of negligence (ECF #371, et seq., the

                                                       5   “Motion”);

                                                       6          D.         Although the Former CRO strongly denies the allegations in the Motion and that any

                                                       7   disgorgement is warranted, notice of the Motion was provided to Maxum;

                                                       8          E.         Accordingly, the Former CRO has incurred defense costs in connection with the

                                                       9   Motion, and Maxum has agreed to advance the Defense Costs (as that term is defined in the Policy)

                                                      10   incurred by the Former CRO in connection with the Motion;

                                                      11          F.         On April 6, 2020, the Former CRO filed Opposition to the Motion (ECF #393, et

                                                      12   seq.), wherein on April 13, 2020, the Trustee filed his Reply thereto (ECF#401, et seq.). The subject
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                                                      13   hearing was scheduled for May 7, 2020.
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                                                      14          G.         On May 6, 2020 the Court issued its Tentative Ruling (“Tentative Ruling,” ECF

                                                      15   #407) that indicated that the Court was inclined to grant the Motion in part.

                                                      16          H.         Prior to the hearing on the Motion, the Parties met and reached a resolution regarding

                                                      17   the Motion, and counsel for the Former CRO read into the record the terms of a proposed agreement

                                                      18   at the hearing.

                                                      19          I.         Thereafter, the Court removed the Motion from its calendar pending submission of

                                                      20   a written stipulation;

                                                      21                                                   STIPULATION

                                                      22          Based on the foregoing recitals, the Parties agree that:

                                                      23          1.         The Trustee will withdraw the Motion. Since the withdrawal of the Motion has

                                                      24   mooted the Tentative Ruling, the Parties request that the Court vacate the Tentative Ruling and ask

                                                      25   the clerk to remove it from the docket. In the alternative to vacatur, the Trustee has no objection to

                                                      26   the Court sealing the Tentative Ruling, but the Trustee will have no obligation to seek a sealing of

                                                      27   the Tentative Ruling;

                                                      28          2.         The Former CRO will pay to the Trustee the sum of $17,553.51 within seven (7)

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                                                       1   days after Court enters an Order approving this Stipulation.

                                                       2          3.      The Former CRO will retain the remainder of the fees it received in connection with

                                                       3   his services as CRO.

                                                       4          4.      The Trustee, on behalf of himself and any successor trustee or other fiduciary

                                                       5   appointed as legal representative of the Debtor or its estate, and his or their respective officers,

                                                       6   directors, employees, agents, affiliates, attorneys, successors and assigns, each completely,

                                                       7   unconditionally and forever releases the Former CRO and CRA, and his or their respective

                                                       8   employees, agents, affiliates, attorneys, successors and assigns from, and covenants not to sue upon,

                                                       9   any and all actions, contested matters, adversary proceedings, causes of action, claims, demands,

                                                      10   accountings, liabilities, damages, claims for disgorgement, or obligations, in law and/or equity in

                                                      11   any way related to the Former CRO's or CRA’s services to the Debtor and any fees the Former CRO

                                                      12   or CRA received from the Debtor in connection with those services.
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                                                      13          5.      The Former CRO, on behalf of himself and as managing director of CRA, and his or
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                                                      14   their respective officers, directors, employees, agents, affiliates, attorneys, successors and assigns,

                                                      15   each completely, unconditionally and forever releases the Trustee, and any successor trustee or other

                                                      16   fiduciary appointed as legal representative of the Debtor or its estate, and his or their respective

                                                      17   officers, directors, employees, agents, affiliates, attorneys, successors and assigns from, and

                                                      18   covenants not to sue upon, any and all actions, contested matters, adversary proceedings, causes of

                                                      19   action, claims, demands, accountings, liabilities, damages, or obligations, in law and/or equity in

                                                      20   any way related to any fees owed, or claimed to be owed, to the Former CRO and CRA in connection

                                                      21   with his or their services to the Debtor.

                                                      22          6.      The Parties agree that this Stipulation is intended to provide for a full and final

                                                      23   compromise, release, and settlement of all claims, demands, actions, causes of action, and contested

                                                      24   matters, known or unknown, suspected or unsuspected, asserted or unasserted, that relate to or

                                                      25   specifically arise in connection with the Former CRO's and CRA’s services to the Debtor. The

                                                      26   Parties also acknowledge that any one of them may discover facts that are different from those now

                                                      27   known to them or believed to be true. The Parties assume the risk posed by such different or

                                                      28   additional facts and specifically waive all rights any of them may have under section 1542 of the

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                                                       1   California Civil Code or under any comparable federal or state statute or rule of law. California

                                                       2   Civil Code section 1542 provides as follows: “A general release does not extend to claims that the

                                                       3   creditor or releasing party does not know or suspect to exist in his or her favor at the time of

                                                       4   executing the release and that, if known by him or her, would have materially affected his or her

                                                       5   settlement with the debtor or released party.”

                                                       6            7.    The Parties have executed this Agreement with the full knowledge that they are

                                                       7   forever releasing and extinguishing all unknown and unsuspected claims either of them might have

                                                       8   against the other that relate to or specifically arise from the Former CRO’s services to the Debtor.

                                                       9   By initialing below, the Parties hereby waive the provisions of section 1542 in connection with

                                                      10   the matters that are the subject of the foregoing waivers and releases.

                                                      11            Trustee __/s/GES_______                         Former CRO __/s/ EJD_______

                                                      12            8.    The Trustee agrees that the proceeds of the Policy are not property of the estate or,
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                                                      13   in the alternative, that it is appropriate to grant relief from the automatic stay to permit
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                                                      14   reimbursement of Defense Costs by or on behalf of the Former CRO, and that nothing else in this

                                                      15   Stipulation does or is intended to impair advancement of defense costs to the Former CRO. The

                                                      16   Trustee expressly does not agree to lift the stay to the extent that any claim for a deductible or other

                                                      17   claim by Maxum against the estate related to the Former CRO’s claim for advancement of defense

                                                      18   costs.

                                                      19            9.    Nothing in this Stipulation is intended to waive any rights that the Debtors may have

                                                      20   under the Policy, to the extent that any such rights exist.

                                                      21            10.   Each of the undersigned counsel represents that he/she is authorized to execute this

                                                      22   Stipulation on behalf of his/her respective client(s).

                                                      23            11.   The Parties acknowledge that this Stipulation constitutes the entire agreement by and

                                                      24   among the Parties with respect to the subject matter hereof, and all prior agreements, stipulations,

                                                      25   negotiations and understandings with respect to the subject matter hereof are canceled and

                                                      26   superseded by this Stipulation.

                                                      27            12.   This Stipulation shall be binding on and inure to the benefit of the Parties and their

                                                      28   respective successors and representatives, including, without limitation, any trustee or other

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                                                       1   fiduciary hereafter appointed as legal representative of the Debtor or their estates.

                                                       2          13.     This Stipulation may be executed in one or more counterparts, each of which shall

                                                       3   be deemed an original, but all of which when taken together shall constitute but one and the same

                                                       4   Stipulation; and that facsimile, “pdf” format or similar copies of the signed Stipulation shall have

                                                       5   the same force and effect as originals thereof.

                                                       6          IT IS SO STIPULATED.

                                                       7   Dated: June 10, 2020                          Respectfully Submitted,

                                                       8                                                 LYNN PINKER HURST & SCHWEGMANN,
                                                                                                         LLP
                                                       9

                                                      10                                          By:       /s/ Edward Jason Dennis
                                                                                                         EDWARD JASON DENNIS
                                                      11                                                 ELIYAHU NESS
                                                                                                         Attorneys for Richard Feferman and Corporate
                                                      12                                                 Recovery Associates, LLC.
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                                                      14   Dated: June 10, 2020                         SLATER & TRUXAW, LLP

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                                                      16                                          By:     /s/ Gary E. Slater
                                                                                                         GARY E. SLATER
                                                      17                                                 TIMOTHY J. TRUXAW
                                                                                                         Attorneys for Chapter 7 Trustee Richard M
                                                      18                                                 Kipperman

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